DEFENDANT:    DANIEL LARSON

AGE/YOB:      26/1998

COMPLAINT     _______ Yes       X     No
FILED?

HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?            ____ Yes     X   No


OFFENSE(S):
              Count 1: 18 U.S.C. §844(e) – Use or Threatened Use of Explosive
              Material
              Count 2: 18 U.S.C. §844(e) – Use or Threatened Use of Explosive
              Material
              Count 3: 18 U.S.C. §844(e) – Use or Threatened Use of Explosive
              Material
              Count 4: 18 U.S.C. §844(e) – Use or Threatened Use of Explosive
              Material
              Count 5: 18 U.S.C. §844(e) – Use or Threatened Use of Explosive
              Material
              Count 6: 18 U.S.C. §875(c) – Interstate Communication of Threats
              Count 7: 18 U.S.C. §844(e) – Use or Threatened Use of Explosive
              Material

LOCATION OF   Denver, Boulder, and Jefferson Counties, Colorado
OFFENSE:

PENALTY:      Count 1: NMT 10 years’ imprisonment; NMT $250,000 fine, or both;
              NMT 3 years’ supervised release; $100 Special Assessment.
              Count 2: NMT 10 years’ imprisonment; NMT $250,000 fine, or both;
              NMT 3 years’ supervised release; $100 Special Assessment.
              Count 3: NMT 10 years’ imprisonment; NMT $250,000 fine, or both;
              NMT 3 years’ supervised release; $100 Special Assessment.
              Count 4: NMT 10 years’ imprisonment; NMT $250,000 fine, or both;
              NMT 3 years’ supervised release; $100 Special Assessment.
              Count 5: NMT 10 years’ imprisonment; NMT $250,000 fine, or both;
              NMT 3 years’ supervised release; $100 Special Assessment.
              Count 6: NMT 5 years’ imprisonment; NMT $250,000 fine, or both;
              NMT 3 years’ supervised release; $100 Special Assessment.
              Count 7: NMT 10 years’ imprisonment; NMT $250,000 fine, or both;
              NMT 3 years’ supervised release; $100 Special Assessment.

AGENT:        Daniel MacDougall, TFO, FBI
AUTHORIZED          Alison Connaughty
BY:                 AUSA

ESTIMATED TIME OF TRIAL:

 X    five days or less; ___ over five days

THE GOVERNMENT

 X    will seek detention in this case based on 18 U.S.C. § 3142(f)(1)

The statutory presumption of detention is not applicable to this defendant.




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